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 1                                                                  The Honorable Richard A. Jones
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 3

 4                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 5                                       AT SEATTLE
 6
     UNITED STATES OF AMERICA,                            No. CR14-200 RAJ
 7
                      Plaintiff,
 8                                                        ORDER CONTINUING MOTIONS
            v.                                            DEADLINE AND TRIAL DATE
 9
     EMIGDIO SAUCEDA-MACIAS, et al.,
10
                      Defendants.
11

12          THIS MATTER comes before the Court upon the joint motion to continue the

13   trial date of the government and Defendants Emigdio Sauceda-Macias, Agapito Cota-
14   Algandar, Jonathan Morales-Hernandez, Marciela Villarreal, Ricardo Valdivia, Wilder
15
     Cortave, and Erika Felix-Medina (Dkt. #85) and the separate motion to continue trial
16
     date brought by Defendant Leak Sreng Ngor (Dkt. #98). Having considered the entirety
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     of the records and file herein, and having heard from the government and counsel for
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19   Defendant Leak Sreng Ngor at a hearing on this date, and based on the facts set forth in

20   the declaration filed in support of the motion, the Court finds as follows:
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                 1.          That failure to grant a continuance would deny counsel the
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                             reasonable time necessary for effective preparation, taking into
23
                             account the exercise of due diligence, within the meaning of 18
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25
                             U.S.C. § 3161(h)(7)(B)(ii) and (iv);

     ORDER CONTINUING MOTIONS DEADLINE AND                 LAW OFFICE OF CHRISTOPHER BLACK, PLLC
     TRIAL DATE (Emigdio Sauceda-Macias, et al.; No.         1111 Hoge Building, 705 Second Avenue
     CR14-200 RAJ) - 1                                                Seattle, WA 98104
                                                               206.623.1604 | Fax: 206.658.2401
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                2.        That the case is complex due to the number of defendants and/or the
 1

 2                        nature of the prosecution such that it is unreasonable to expect

 3                        adequate preparation within the time limits specified within the
 4
                          meaning of 18 U.S.C. § 3161(h)(7)(B)(ii);
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                3.        That failure to grant such a continuance in the proceeding would be
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                          likely to make a continuation of such proceeding impossible and
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                          result in a miscarriage of justice; and
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 9              4.        That the ends of justice will be served by ordering a continuance in

10                        the case, that a continuance is necessary to ensure effective trial
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                          preparation, and that these factors outweigh the best interests of the
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                          public in a speedy trial, within the meaning of 18 U.S.C. §
13
                          3161(h)(7)(A).
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15
            THEREFORE, the Court rules as follows:

16          GOOD CAUSE HAVING BEEN SHOWN, the joint motion to continue the trial

17   date of the government and Defendants Emigdio Sauceda-Macias, Agapito Cota-
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     Algandar, Jonathan Morales-Hernandez, Marciela Villarreal, Ricardo Valdivia, Wilder
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     Cortave, and Erika Felix-Medina to June 1, 2015 (Dkt. #85) is GRANTED and the
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     separate motion to continue trial date brought by Defendant Leak Sreng Ngor to
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22   November or December, 2014 (Dkt. #98) is DENIED.

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     ///
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     ///
     ORDER CONTINUING MOTIONS DEADLINE AND               LAW OFFICE OF CHRISTOPHER BLACK, PLLC
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     CR14-200 RAJ) - 2                                              Seattle, WA 98104
                                                             206.623.1604 | Fax: 206.658.2401
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            The trial date as to all defendants is continued from September 15, 2014 to
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 2   June 1, 2015 at 9:00 a.m. All pretrial motions, including motions in limine, shall be filed

 3   no later than March 19, 2015.
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            IT IS FURTHER ORDERED that the period of time from the date of this Order to
 5
     the new trial date of June 1, 2015, is excluded under the Speedy Trial Act, 18 U.S.C. §§
 6
     3161 et seq.
 7
            DATED this 12th day of September, 2014.
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                                                       A
11
                                                       The Honorable Richard A. Jones
                                                       United States District Judge
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     ORDER CONTINUING MOTIONS DEADLINE AND              LAW OFFICE OF CHRISTOPHER BLACK, PLLC
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